     Case 2:17-bk-20161-VZ      Doc 32 Filed 07/24/19 Entered 07/24/19 09:44:01         Desc
                                 Main Document    Page 1 of 2
 1

 2

 3
     1000    shire    .,                  870
     Los     les, CA 90017
 4
     (213) 689-3014 FAX (213)            689-3055
 5

 6                           UNITED STATES BANKRUPTCY COURT
                             CENTRAL DISTRICT OF CALIFORNIA
 7

 8   In re:                                        Case No.: 2:17             0161-VZ

 9                , Renee                          TRUSTEE'S NOTICE OF
                                                   UNCLAIMED DIVIDEND
10                                                 (Bankrupt   Rule 3011)

11

12
             TO THE CLERK OF THE ABOVE-ENTITLED COURT:
 3
             Please                     hereto         k No. 792727          the sum of
14
     $14,017.52              enting the tot         amount of

     in the above-entitl             debtor's estate.       The         k was not
16
                       at the           s of reco                  Trustee, after due
17
                      has not been able to locate the                              sum is
 8
     paid over to you pursuant to Ban                       Rule 3011.       The
19
     reflects the name and                  s of                   entitled to sa
20
     uncla                      to
21

22                               Renee Br

23                               28009 Cal          Drive
                                        Palos               , CA     90275
24

25
     Date:        Y 24, 2019




                      NOTICE OF UNCLAIMED DIVIDEND (                 Rule 3011)
                     Case 2:17-bk-20161-VZ                               Doc 32              Filed 07/24/19                     Entered 07/24/19 09:44:01                                    Desc
        Nancy Curry Chapter 13 Trustee      Main Document          Check2No.
                                                                  Page       792727
                                                                          of 2
      Pay to: 50033000 U.S. BANKRUPTCY COURT
        OUR OFFICE HAS MOVED TO: 1000 WILSHIRE BLVD ., SUITE 870, LOS ANGELES, CA 90017
   [Case NO._Clm_               _ Debtor Name _ _ _ _ _ _Account No. _ _ _ _ _-----'B""'a""la"""n""'ce"'-----'-P.!.!ri!..!.:nc""'ip""a"""lPC,lm"",t,----!.!.!ln""te;!,!re""s!..,!tP-'-m!..!.:t'---_ _T"--'o""'ta"""I_ _ __
    1720161-VZ         999-0   BRYANT. RENEE                                                                                          0.00             14.017.52                  0.00         14.017.52




I:J WARNI IIG   CHlCK !'RIIIllD Ol~ TONER GRIP CHEMICAL REACTIVE PAPER. VOID APPEARS IF COPIED , flUORESCENT FIBERS , MICRO PRINTING , TRUE WATERMARK AND LAID LINES WITHTRUSTEE NAME.

                                                                                                                                                                   64-79
                        Nancv CUrry                                                                            Disbursement Account                                   611
                        Chapter 13 Trustee                                                                      Suntrust Bank
                                                                                                                                                                                          No. 792727
                        1000 Wilshire Blvd., Suite 870

                        Los Angeles, CA 90017
                                                                                                                                                                                    July 17, 2019
           PAY·· Fourteen Thousand Seventeen Dollars and 52 Cents···························
           TO THE ORDER OF                                                                                                                                  AMOUNT                 *****$14,017.52*****

                                                                                                                                                              VOID AFTER October 15, 2019
                               U.S. BANKRUPTCY COURT
                               FISCAL DEPT.
                               255 E. TEMPLE ST., RM 1067
                               LOS ANGELES, CA 90012­
